         Case 1:18-cv-00413-MBH Document 25 Filed 09/13/19 Page 1 of 1




         In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **  *
                                       *
  BENJAMIN LIGHT,                      *
                  Plaintiff,           *
                                       *
           v.                          * No. 18-413C
                                       * Filed: September 13, 2019
  UNITED STATES,                       *
                  Defendant.           *
                                       *
    * * * * * * * * * * * * * * * * ** *
                                   ORDER

       The court is in receipt of the parties’ September 13, 2019 joint stipulation of dismissal
with prejudice of the above-captioned case. Pursuant to Rule 41(a)(1)(A) of the Rules of the
United States Court of Federal Claims (2019), this court ORDERS that this case be
DISMISSED with prejudice, with each party to bear its own costs and attorneys’ fees.

       IT IS SO ORDERED.

                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
